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Attorneys for Plaintiff Minden Pictures, Inc.


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________________
                                                         :
MINDEN PICTURES, INC.,                                   :      Case No.
                                                         :
                              Plaintiff,                 :      COMPLAINT
        v.                                               :
                                                         :
BUZZFEED, INC. and DOES 1-10,                            :      JURY TRIAL DEMANDED
                                                         :
                       Defendants.                       :
__________________________________________               :


       Plaintiff Minden Pictures, Inc. (“Minden” or “Plaintiff”), by its attorneys Doniger /

Burroughs APC, for its complaint against defendant Buzzfeed, Inc. (“Buzzfeed”) and Does 1-10

(together with Buzzfeed, “Defendants”), alleges as follows:

                                     JURISDICTION AND VENUE
       1. This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101 et seq.

       2. This Court has federal question jurisdiction under 28 U.S.C. § 1331 and 1338 (a) and

(b).

       3. Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and 1400(a) in that

this is the judicial district in which a substantial part of the acts and omissions giving rise to the

claims occurred.




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                                             PARTIES

       4. Plaintiff Minden Pictures, Inc. is a corporation organized and existing under the laws

of the state of California, with its primary place of business located at 9565 Soquel Drive, Suite

202, Aptos, California 95003.

       5. Plaintiff is informed and believes and thereon alleges that Buzzfeed, Inc. is a

corporation organized and existing under the laws of the state of Delaware, with its primary

place of business located at 200 Fifth Avenue, 8th Floor, New York, NY 10010, and is the owner

of the website at www.buzzfeed.com.

       6. Plaintiff is informed and believes and thereon alleges that Defendants Does 1 through

10, inclusive, are other parties not yet identified who have infringed Plaintiff’s copyrights, have

contributed to the infringement of Plaintiff’s copyrights, or have engaged in one or more of the

wrongful practices alleged herein. The true names, whether corporate, individual or otherwise, of

the Does 1-10, inclusive, are presently unknown to Plaintiff, which therefore sues said Does 1-10

by such fictitious names, and will seek leave to amend this Complaint to show their true names

and capacities when same have been ascertained.

       7.    Plaintiff is informed and believes and thereon alleges that at all times relevant hereto

each of the Defendants was the agent, affiliate, officer, director, manager, principal, alter-ego,

and/or employee of the remaining Defendants and was at all times acting within the scope of

such agency, affiliation, alter-ego relationship and/or employment; and actively participated in or

subsequently ratified and/or adopted each of the acts or conduct alleged, with full knowledge of

all the facts and circumstances, including, but not limited to, full knowledge of each violation of

Plaintiff’s rights and the damages to Plaintiff proximately caused thereby.

                    CLAIMS RELATED TO SUBJECT PHOTOGRAPHS

       8. By virtue of contractual assignments with the respective photographers, Plaintiff is

the sole and exclusive agent and representative for the licensing and use of certain original nature

photographs (“Subject Photographs”). Pursuant to that assignment, Plaintiff also has full and

complete authority to institute suit for the unauthorized use of said images. Thus, Plaintiff has


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standing to bring this action (Minden Pictures, Inc. v. John Wiley & Sons, 795 F.3d 997 (9th

Cir., 2015)).

       9. The Subject Photographs were registered with the United States Copyright Office as

shown in the chart attached hereto as Exhibit A.

       10. Plaintiff is informed and believes and thereon alleges that following its publication

and display of the Subject Photographs, Defendants used the Subject Photographs without

Plaintiff’s authorization for commercial purposes in various ways, including, but not limited to,

the use on websites such as buzzfeed.com.
       11. Images of the Subject Photographs are shown in the chart attached hereto as Exhibit

A.

       12. Screen captures of Defendant’s website with Subject Photographs are attached hereto

as Exhibit B.

                                 FIRST CLAIM FOR RELIEF

                       (Copyright Infringement - Against All Defendants)

       13. Plaintiff repeats, realleges and incorporates herein by reference as though

fully set forth the allegations contained in the preceding paragraphs of this Complaint.

       14. Plaintiff is informed and believes and thereon alleges that Defendants had access to

the Subject Photographs, including, without limitation, through Plaintiff’s website and social

media accounts or viewing the Subject Photographs on third-party websites (e.g., Tumblr,

Pinterest, etc.).

       15. Plaintiff is informed and believes and thereon alleges that Defendants used and

distributed images of the Subject Photographs, and exploited said images in website posts

without Plaintiff’s authorization or consent.

       16. Due to Defendants’ acts of infringement, Plaintiff has suffered damages in an amount

to be established at trial.

       17. Due to Defendants’ acts of copyright infringement as alleged herein, Defendants

have obtained profits they would not otherwise have realized but for their infringement of the


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Subject Photographs. As such, Plaintiff is entitled to disgorgement of Defendants’ profits

attributable to the infringement of the Subject Photographs in an amount to be established at

trial.

         18. Plaintiff is informed and believes and thereon alleges that Defendants committed

copyright infringement with actual or constructive knowledge of Plaintiff’s rights such that said

acts of copyright infringement were, and continue to be, willful, intentional and malicious.



                                       PRAYER FOR RELIEF
         WHEREFORE, Plaintiff prays for judgment as follows:

         a.       That Defendants and their respective agents and servants be enjoined from

importing, manufacturing, distributing, offering for sale, selling or otherwise trafficking in any

product that infringes Plaintiff’s copyright in the Subject Photographs;

         b.       That Plaintiff be awarded all profits of Defendants, plus all losses of Plaintiff, the

exact sum to be proven at the time of trial, or, if elected before final judgment, statutory damages

as available under the Copyright Act, 17 U.S.C. § 101 et seq.;

         c.       That Plaintiff be awarded its attorneys’ fees as available under the Copyright Act

U.S.C. § 101 et seq.;

         d.       That Plaintiff be awarded pre-judgment interest as allowed by law;

         e.       That Plaintiff be awarded the costs of this action; and

         f.       That Plaintiff be awarded such further legal and equitable relief as the Court

deems proper.




                                    DEMAND FOR JURY TRIAL

         Plaintiff demands a trial by jury in this action of all issues so triable.




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Dated:    New York, New York               Respectfully Submitted,
          March 19, 2018
                                           DONIGER / BURROUGHS




                                           By:
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                    EXHIBIT A




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Photograph                                    Registration   Registration Date
                                              Number
                                              VA 847-928     18 Feb 1997




                                              VA 847-928     18 Feb 1997




                                              VA 1 715-029   Pending




                                              VA 1 715-029   09 Jan 2009




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                                       VA1-700-959    16 Jan 2009




                                       VA 1-725-366   23 Dec 2008




                                       VA 1-725-390   23 Dec 2008




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                                       VA1-700-964    16 Jan 2009




                                       VA 2-050-164   10 Feb 2017




                                       VA 2-054-209   03 Feb 2017




                                       VA 2-053-654   10 Feb 2017




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                                       VA 2-050-091    10 Feb 2017




                                       VA 2-050-091    10 Feb 2017




                                       VAu 1-089-820   01 Aug 2011




                                       VA1-702-515     16 Jan 2009




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                                       VA 1-715-889   23 Jan 2009




                                       VA 1-716-019   23 Jan 2009




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                    EXHIBIT B




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